        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 1 of 12




                                                                                   Douglas A. Daniels
                                                                       6363 Woodway Drive, Suite 700
                                                                                  Houston, TX 77057
                                                                                (713) 917-0024 Office
                                                                                   (713) 917-0026 Fax
                                                                          doug.daniels@dtlawyers.com

                                         October 1, 2021

Via Email
Stephen Shackelford, Jr., Esq.
SShackelford@susmangodfrey.com
Laranda Walker, Esq.
LWalker@susmangodfrey.com
Katie Sammons, Esq.
KSAMMONS@SusmanGodfrey.com

               Re: US Dominion, Inc., et al. v. My Pillow, Inc., et al.; Cause No. 1:21-cv-00445-
                   CJN

Counsel:

        This letter responds to the emails between counsel regarding Mr. Lindell’s purported
obligation to Answer and the timing of a meet and confer to set a discovery schedule. Copies of
those emails are attached.

       Answer

       You have asserted that Mr. Lindell’s failure to file an Answer to Dominion’s Complaint
on September 24 is “not permitted under the rules” and that if we do not file an Answer “within 7
days” you will consider our clients “to be in default.”

        MyPillow and Mr. Lindell each filed, on September 23 and 24, 2021, respectively, a
“Notice in Lieu of Filing Answer” setting forth the reason why no Answer was filed by either
defendant on September 24. (Docs. 74 & 75). That reason will endure until there is a resolution
of the current appeal processes filed by MyPillow and Mr. Lindell.

        Both MyPillow and Mr. Lindell filed Motions for certification under 28 U.S.C. 1292(b)
for an interlocutory appeal of the denial of their Motions To Dismiss. (Docs. 58 & 59). Judge
Nichols entered orders prescribing dates for the filing of an Opposition to the Motions and for the
defendants’ replies to the Opposition. (September 2, 2021 Minute Order). While Judge Nichols
        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 2 of 12




October 1, 2021
Page 2

has the Motions for Certification, the Opposition, and the Replies under advisement, the Notices
correctly recite that it would be premature for MyPillow and Mr. Lindell to file an Answer.

        The Notices declare that notwithstanding this prematurity, MyPillow and Mr. Lindell “will
file an Answer if” Judge Nichols so orders. Consequently, Dominion cannot seriously claim that
MyPillow and Mr. Lindell are “in default” if they fail to file an Answer “within 7 days.” The case
law is clear, “[f]or default judgment, defendant must be considered a totally unresponsive party,
and its default plainly willful, reflected by its failure to respond to the summons and complaint,
the entry of default, or the motion for default judgment.” Int'l Painters & Allied Trades Indus.
Pension Fund v. Auxier Drywall, LLC, 531 F. Supp. 2d 56, 57 (D.D.C. 2008) (internal quotations
omitted). A default judgment is appropriate when a party exhibits a lack of good faith or a showing
of a willful disregard or contempt of the process of the court. Manos v. Fickenscher, 62 A.2d 791,
793 (D.C. 1948); see also Asia N. Am. Eastbound Rate Agreement v. BJI Indus., Inc., 900 F. Supp.
507, 511 (D.D.C. 1995), supplemented, 923 F. Supp. 4 (D.D.C. 1996) (“default judgment must
normally be viewed as available only when the adversary process has been halted because of an
essentially unresponsive party”).

       Both My Pillow and Mr. Lindell also filed on September 9, 2021, Notices of Appeal under
28 U.S.C. 1291 (Docs. 64 & 66). The Notices of Appeal stated that the District Court’s denial of
their Motions To Dismiss are “collateral orders” that are immediately appealable under
28 U.S.C. 1291. The Court of Appeals has docketed the appeal and set an appellate schedule.

       Ms. Walker’s email of September 30, 2021, cites two cases to support her conclusion,
stated in a footnote to Dominion’s Opposition to MyPillow’s Motion for Certification, that an
immediate appeal is “frivolous.” The cases cited are inapposite.

        The majority opinion in New York Times v. Sullivan, 376 U.S. 254 (1964), described the
First Amendment right that the decision secured as a “privilege for criticism of official conduct,”
“the privilege for the citizen-critic of government,” and “the privilege immunizing honest
misstatements of fact.” 376 U.S. at 282 & n. 21 (emphasis added). The opinion recognized this
“privilege” as “a fair equivalent of the immunity granted to the officials themselves.” 376 U.S. at
283 (emphasis added). The denial of a motion to dismiss a defamation lawsuit abridging this
“privilege” and “immunity” is the legal equivalent of a denial of absolute or qualified immunity,
which is immediately appealable under 28 U.S.C. 1291.

        The Notices of Appeal filed by MyPillow and Mr. Lindell cited, in addition to the landmark
Supreme Court opinion in Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541, 546 (1949),
two cases that recognized immediate appellate jurisdiction over otherwise early interlocutory
rulings rejecting immunity defenses. The Supreme Court’s decision in Mitchell v. Forsyth, 472
U.S. 511, 524-530 (1985), and the decision of the United States Court of Appeals for the District
of Columbia Circuit in Meredith v. Federal Mine Safety and Health Review Commission, 177 F.3d
1042, 1048-1052 (D.C. Cir. 1999), both support immediate appellate jurisdiction over a “collateral
order” denying the privilege and immunity recognized in New York Times v. Sullivan.
        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 3 of 12




October 1, 2021
Page 3

        There is, therefore, no substance to the repeated declarations made that an appeal in this
case at this juncture is “frivolous.” The cited cases do not concern appeals of district-court denials
of absolute or qualified immunity and do not address the basis for Mr. Lindell’s 28 U.S.C. 1291
appeal.

       Meet and Confer

        Finally, Dominion’s suggestion that MyPillow and Mr. Lindell join “a group to discuss
discovery coordination and a joint scheduling order” is oblivious of the different procedural stages
of our case and the other cases. Although Judge Nichols considered the cases together for purpose
of the Motions To Dismiss, only MyPillow and Mr. Lindell are seeking immediate appellate
review pursuant to New York Times v. Sullivan. While the MyPillow/Lindell lawsuit is on appeal,
certain other cases have not yet even filed a responsive pleading, while other cases have fully
answered.

         Only in Dominion v. Giuliani was there a “Joint Meet and Confer Report” which Judge
Nichols reviewed. Following this review, Judge Nichols ordered an “updated Joint Meet and
Confer Report” after the “parties in all related cases have had the opportunity to discuss a Joint
Scheduling Order.” Mr. Lindell has not had an opportunity to present his position to the Court
regarding consolidated discovery and no order has been issued in the Dominion v.
MyPillow/Lindell lawsuit requiring a meet and confer or consolidating the schedule for discovery.
It is not the appropriate time for a meet and confer that includes Mr. Lindell and we do not believe
that Judge Nichols has ordered that in this case. Mr. Lindell will take the opportunity to discuss
these matters and present its opposition to consolidation should it still be required once the appeal
process is completed.

        We agree with MyPillow’s suggestion that we jointly request a status conference with the
court to provide our positions on these issues and get the court’s direction regarding the disputed
matters. Please advise if you agree to proceed with this request.


                                               Very truly yours,

                                               Daniels & Tredennick PLLC




                                               Douglas A. Daniels
Enclosures
        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 4 of 12


From:           Douglas A. Daniels
To:             Stephen Shackelford; Howard Kleinhendler; Jesse Binnall; Lawrence J. Joseph; Abraham S. Kaplan; Andrew D.
                Parker; Earl N. Mayfield, III; Elizabeth S. Wright; Gregory Arenson; Heath A. Novosad; Joseph Alan Pull; Nathan
                Lewin; Ryan Malone
Cc:             Dominion ListserveSusmanGodfrey; Clare Locke Dominion Team; Joe Sibley
Subject:        Re: Dominion cases - discovery plan and scheduling



Stephen,


We appreciate you reaching out regarding a joint scheduling order. Mr. Lindell will not be
participating in such discussions, nor will he agree to any such order at this time.

Mr. Lindell does not agree to consolidation of the cases, and other than the fact that
Dominion is a party to each of the actions, Mr. Lindell does not agree the cases are related.
Any argument or insinuation otherwise is incorrect.

Mr. Lindell and MyPillow filed appeals under 28 U.S.C. §§ 1291 and 1292(b). As you know, this
divests the Court of jurisdiction. Accordingly, all actions have been stayed pending resolution
by the Court of Appeals. At the appropriate time, Mr. Lindell will brief the Court as to why
consolidation is inappropriate. For the time being, however, such an argument is premature.

Regards,
-Doug



From: Stephen Shackelford <SShackelford@susmangodfrey.com>
Date: Tuesday, September 28, 2021 at 12:30 PM
To: Howard Kleinhendler <howard@kleinhendler.com>, Jesse Binnall <jesse@binnall.com>,
"Lawrence J. Joseph" <ljoseph@larryjoseph.com>, "Abraham S. Kaplan"
<kaplan@parkerdk.com>, "Andrew D. Parker" <parker@parkerdk.com>, Douglas Daniels
<doug.daniels@dtlawyers.com>, "Earl N. Mayfield, III" <tmayfield@jurisday.com>, "Elizabeth
S. Wright" <wright@parkerdk.com>, Gregory Arenson <arenson@parkerdk.com>, Heath
Novosad <heath@dtlawyers.com>, Joseph Alan Pull <pull@parkerdk.com>, Nathan Lewin
<nat@lewinlewin.com>, Ryan Malone <malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>, Clare Locke
Dominion Team <dominion@clarelocke.com>, Joe Sibley <sibley@camarasibley.com>
Subject: RE: Dominion cases - discovery plan and scheduling


  CAUTION: EXTERNAL EMAIL
       Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 5 of 12


Hello all—can counsel for the Powell Defendants, Mr. Lindell, MyPillow, and Mr. Giuliani all please
let us know your availability next week for the meet and confer discussed below? Attached is the
latest order from Judge Nichols, which he issued in the Giuliani litigation, and which clearly indicates
he expects us all to confer about a joint scheduling order. Please let us know days and time windows
that work, so we can coordinate it. Thanks.

--Stephen


From: Howard Kleinhendler <howard@kleinhendler.com>
Sent: Thursday, September 16, 2021 10:30 PM
To: Stephen Shackelford <SShackelford@susmangodfrey.com>; Jesse Binnall <jesse@binnall.com>;
Lawrence J. Joseph <ljoseph@larryjoseph.com>; Abraham S. Kaplan <kaplan@parkerdk.com>;
Andrew D. Parker <parker@parkerdk.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>; Earl
N. Mayfield, III <tmayfield@jurisday.com>; Elizabeth S. Wright <wright@parkerdk.com>; Gregory
Arenson <arenson@parkerdk.com>; Heath Novosad <heath.novosad@dtlawyers.com>; Joseph Alan
Pull <pull@parkerdk.com>; Nathan Lewin <nat@lewinlewin.com>; Ryan Malone
<malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Clare Locke
Dominion Team <dominion@clarelocke.com>; Joe Sibley <sibley@camarasibley.com>
Subject: RE: Dominion cases - discovery plan and scheduling

EXTERNAL Email
Stephen:

Thanks for your note below. We agree to coordinate discovery with Mr. Giuliani and the Lindell
parties if they are amenable.

However, due to scheduling issues, we are unable to participate in a call until the week of October
4.


Howard Kleinhendler Esquire
369 Lexington Avenue, 12th Floor
New York, New York 10017
Office (917) 793-1188
Mobile (347) 840-2188
howard@kleinhendler.com
www.kleinhendler.com




From: Stephen Shackelford <SShackelford@susmangodfrey.com>
Sent: Thursday, September 16, 2021 1:24 PM
To: Howard Kleinhendler <howard@kleinhendler.com>; Jesse Binnall <jesse@binnall.com>;
Lawrence J. Joseph <ljoseph@larryjoseph.com>; Abraham S. Kaplan <kaplan@parkerdk.com>;
      Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 6 of 12


Andrew D. Parker <parker@parkerdk.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>; Earl
N. Mayfield, III <tmayfield@jurisday.com>; Elizabeth S. Wright <wright@parkerdk.com>; Gregory
Arenson <arenson@parkerdk.com>; Heath Novosad <heath.novosad@dtlawyers.com>; Joseph Alan
Pull <pull@parkerdk.com>; Nathan Lewin <nat@lewinlewin.com>; Ryan Malone
<malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Clare Locke
Dominion Team <dominion@clarelocke.com>; Joe Sibley <sibley@camarasibley.com>
Subject: Dominion cases - discovery plan and scheduling

Counsel—the Court has ordered Dominion and Mr. Giuliani to file a discovery plan and proposed
schedule under LR 16.3(d) by tomorrow, September 17. We have been meeting and conferring with
Mr. Sibley, and we have determined that we should include you all in these discussions, to
coordinate discovery among these three cases. Please let us know your availability to meet and
confer on a discovery plan and schedule next week. Thanks.

--Stephen
        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 7 of 12


From:              Douglas A. Daniels
To:                Laranda Walker; Andrew Parker
Cc:                Stephen Shackelford; Justin A. Nelson; Davida Brook; Tom Clare; Megan Meier; Bill Dunseth; Brooke Behrens;
                   Katie Sammons; Florence Chen; Heath A. Novosad
Subject:           Re: Dominion v. MyPillow, et al: Defendants" Answer
Date:              Wednesday, September 29, 2021 11:23:43 AM
Attachments:       image100059.png
                   image902059.png
                   image742121.png
                   image382139.png
                   image492717.png
                   image661894.png


Laranda,

I have your email below, along with Andy Parker’s response earlier this morning on behalf of My
Pillow. On behalf of Mike Lindell, we join in My Pillow’s position in its entirety regarding the effect of
our pending appeal on the District Court’s jurisdiction, as well as the effect of Mr. Lindell’s ongoing
defense of the lawsuit, and are not waiving Mr. Lindell’s right to file an answer, if necessary, at the
appropriate time.

Regards,
-Doug



           Douglas A. Daniels
           Partner | Daniels & Tredennick PLLC
           6363 Woodway Dr., Suite 700, Houston, Texas 77057
           P: 713.917.0024| C: 713.705.0690
           Attorneys licensed in
           TX, AR, CA, CO, MN, MO, NE, NY, OK, D.C.

           CONFIDENTIALITY NOTICE: This electronic transmission and
           any attachments constitute confidential information which is intended
           only for the named recipient(s) and may be legally privileged. If you
           have received this communication in error, please contact the sender
           immediately. Any disclosure, copying, distribution or the taking of any
           action concerning the contents of this communication by anyone other
           than the named recipient(s) is strictly prohibited.


From: Laranda Walker <LWalker@susmangodfrey.com>
Date: Tuesday, September 28, 2021 at 11:52 AM
To: Andrew Parker <parker@parkerdk.com>, Douglas Daniels <doug.daniels@dtlawyers.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>, "Justin A. Nelson"
<jnelson@SusmanGodfrey.com>, Davida Brook <DBrook@susmangodfrey.com>, Tom Clare
<tom@clarelocke.com>, Megan Meier <megan@clarelocke.com>, Bill Dunseth
<bdunseth@susmangodfrey.com>, Brooke Behrens <BBehrens@susmangodfrey.com>, Katie
Sammons <KSAMMONS@SusmanGodfrey.com>, Florence Chen
<FChen@susmangodfrey.com>
Subject: Dominion v. MyPillow, et al: Defendants' Answer
      Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 8 of 12




  CAUTION: EXTERNAL EMAIL



Andrew and Doug:

MyPillow and Mr. Lindell failed to answer Dominion’s complaint on September 24. This
is not permitted under the rules. Please file an answer within 7 days, or we will consider
your clients to be in default.

In the meantime, we will include you on separate email correspondence with counsel for
Mr. Giuliani and Ms. Powell where, in accordance with Judge Nichol’s September 27
order in the Giuliani case (attached), we are trying to convene a group to discuss
discovery coordination and a joint scheduling order.

Thanks,
Laranda

Laranda Moffett Walker
Susman Godfrey LLP
1000 Louisiana St. | Suite 5100 | Houston, Texas 77002
HOUSTON • LOS ANGELES • SEATTLE • NEW YORK
Office: 713.653.7842
Mobile: 225.485.4533

Susman Godfrey 2019 Year in Review
        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 9 of 12


From:           Laranda Walker
To:             Douglas A. Daniels; Andrew Parker
Cc:             Stephen Shackelford; Justin A. Nelson; Davida Brook; Tom Clare; Megan Meier; Bill Dunseth; Brooke Behrens;
                Katie Sammons; Florence Chen; Heath A. Novosad
Subject:        Re: Dominion v. MyPillow, et al: Defendants" Answer
Date:           Thursday, September 30, 2021 10:34:07 AM
Attachments:    image002.png
                image003.png
                image004.png
                image005.png
                image006.png
                image007.png




  CAUTION: EXTERNAL EMAIL



Andrew and Doug,

Thank you for your emails. We disagree with your assertion that the District Court lacks
jurisdiction. A notice of appeal from a nonappealable order—in this case, Judge Nichol’s
order denying Defendants’ motions to dismiss—does not deprive the district court of
jurisdiction. See, e.g., Robertson v. Cartinhour, 691 F. Supp. 2d 65, 75 (D.D.C. 2010) (“[I]t
is well-settled that neither a denial of a motion for summary judgment nor a denial of a
motion to dismiss are considered ‘final orders’ that are appealable under §
1291.“); McKesson HBOC, Inc. v. Islamic Republic of Iran, 315 F. Supp. 2d 63, 66 (D.D.C.
2004) (“It is settled that a notice of appeal from an unappealable order does not divest
the district court of jurisdiction.”). Notwithstanding your clients’ refusal to participate,
we will meet and confer with counsel for the Giuliani and Powell defendants and work
towards a joint scheduling order, as instructed by Judge Nichols, without your input. If
we reach agreement, we will ask the Court to enter the scheduling order in all three
cases.

Thanks,
Laranda


From: "Douglas A. Daniels" <doug.daniels@dtlawyers.com>
Date: Wednesday, September 29, 2021 at 11:24 AM
To: Laranda Walker <LWalker@susmangodfrey.com>, Andrew Parker
<parker@parkerdk.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>, Justin Nelson
<jnelson@SusmanGodfrey.com>, Davida Brook <DBrook@susmangodfrey.com>, Tom Clare
<tom@clarelocke.com>, Megan Meier <megan@clarelocke.com>, Bill Dunseth
<bdunseth@susmangodfrey.com>, Brooke Behrens <BBehrens@susmangodfrey.com>, Katie
      Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 10 of 12


Sammons <KSAMMONS@SusmanGodfrey.com>, Florence Chen
<FChen@susmangodfrey.com>, "Heath A. Novosad" <heath@dtlawyers.com>
Subject: Re: Dominion v. MyPillow, et al: Defendants' Answer

EXTERNAL Email
Laranda,

I have your email below, along with Andy Parker’s response earlier this morning on behalf of My
Pillow. On behalf of Mike Lindell, we join in My Pillow’s position in its entirety regarding the effect of
our pending appeal on the District Court’s jurisdiction, as well as the effect of Mr. Lindell’s ongoing
defense of the lawsuit, and are not waiving Mr. Lindell’s right to file an answer, if necessary, at the
appropriate time.

Regards,
-Doug



                Douglas A. Daniels
                Partner | Daniels & Tredennick PLLC
                6363 Woodway Dr., Suite 700, Houston, Texas 77057
                P: 713.917.0024| C: 713.705.0690
                Attorneys licensed in
                TX, AR, CA, CO, MN, MO, NE, NY, OK, D.C.

                CONFIDENTIALITY NOTICE: This electronic transmission and
                any attachments constitute confidential information which is intended
                only for the named recipient(s) and may be legally privileged. If you
                have received this communication in error, please contact the sender
                immediately. Any disclosure, copying, distribution or the taking of any
                action concerning the contents of this communication by anyone other
                than the named recipient(s) is strictly prohibited.


From: Laranda Walker <LWalker@susmangodfrey.com>
Date: Tuesday, September 28, 2021 at 11:52 AM
To: Andrew Parker <parker@parkerdk.com>, Douglas Daniels <doug.daniels@dtlawyers.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>, "Justin A. Nelson"
<jnelson@SusmanGodfrey.com>, Davida Brook <DBrook@susmangodfrey.com>, Tom Clare
<tom@clarelocke.com>, Megan Meier <megan@clarelocke.com>, Bill Dunseth
<bdunseth@susmangodfrey.com>, Brooke Behrens <BBehrens@susmangodfrey.com>, Katie
Sammons <KSAMMONS@SusmanGodfrey.com>, Florence Chen
<FChen@susmangodfrey.com>
Subject: Dominion v. MyPillow, et al: Defendants' Answer


  CAUTION: EXTERNAL EMAIL
     Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 11 of 12




Andrew and Doug:

MyPillow and Mr. Lindell failed to answer Dominion’s complaint on September 24. This
is not permitted under the rules. Please file an answer within 7 days, or we will consider
your clients to be in default.

In the meantime, we will include you on separate email correspondence with counsel for
Mr. Giuliani and Ms. Powell where, in accordance with Judge Nichol’s September 27
order in the Giuliani case (attached), we are trying to convene a group to discuss
discovery coordination and a joint scheduling order.

Thanks,
Laranda

Laranda Moffett Walker
Susman Godfrey LLP
1000 Louisiana St. | Suite 5100 | Houston, Texas 77002
HOUSTON • LOS ANGELES • SEATTLE • NEW YORK
Office: 713.653.7842
Mobile: 225.485.4533

Susman Godfrey 2019 Year in Review
        Case 1:21-cv-00445-CJN Document 78-2 Filed 10/07/21 Page 12 of 12


From:             Katie Sammons
To:               Jesse Binnall; Lawrence J. Joseph; Abraham S. Kaplan; Andrew D. Parker; Douglas A. Daniels; Earl N. Mayfield,
                  III; Elizabeth S. Wright; Gregory Arenson; Heath A. Novosad; Joseph Alan Pull; Nathan Lewin; Ryan Malone;
                  Joseph D. Sibley IV
Cc:               Stephen Shackelford; Justin A. Nelson; Laranda Walker; Florence Chen; Dominion ClareLocke
Subject:          Dominion Cases--Discovery Plan and Scheduling
Date:             Thursday, September 30, 2021 10:28:50 AM




  CAUTION: EXTERNAL EMAIL



Based on the responses we’ve received, we suggest convening by zoom
at 4:00 p.m. eastern on Thursday, October 7 to discuss the Joint
Discovery Plan. We’re happy to send a zoom invite to anyone who
plans to participate. Just let us know who to send it to. Thanks.

Katie Sammons I Partner I Susman Godfrey LLP
o 713.653.7864 I c 713.515.0745
ksammons@susmangodfrey.com

Houston I New York I Los Angeles I Seattle

This communication may contain confidential or privileged information.
If you have received this email in error, please destroy it.
